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AO 458 (Rev. 06/09) Appearance ofCmmsel


                                   UNITED STATES DISTRJCT COURT
                                                           for the
                                                   District of Columbia


                     UNITED STATES                            )
                           Plaintiff                          )
                              V.                              )      Case No.     1:21-MJ-143
                    NOLAN B. COOKE                            )
                          Defendant                           )

                                             APPEARANCE OF COUNSEL

To:      The clerk of court and all parties ofrecord

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Defendant Nolan B. Cooke.


Date: --- --'2/4/2021__                                                                          Isl
                                                                                         Attorney's signature


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